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 5
                                                 UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 7   LOCALS 302 AND 612 OF THE
     INTERNATIONAL UNION OF                                                     NO.
 8
     OPERATING ENGINEERS
 9   CONSTRUCTION INDUSTRY HEALTH
     AND SECURITY FUND; LOCALS 302                                              COMPLAINT TO COLLECT TRUST
10   AND 612 OF THE INTERNATIONAL                                               FUNDS AND UNION DUES
     UNION OF OPERATING ENGINEERS-
11
     EMPLOYERS CONSTRUCTION
12
     INDUSTRY RETIREMENT FUND;
     WESTERN WASHINGTON OPERATING
13   ENGINEERS-EMPLOYERS TRAINING
     TRUST FUND; and LOCAL 302
14   INTERNATIONAL UNION OF
     OPERATING ENGINEERS,
15


16
                                          Plaintiffs,

17                           V.



i8   SEATTLE TOWER CRANE LLC, a
     Washington limited liability company,
19

                                          Defendant.
20

21
                                                                       COUNT ONE
22
                 Plaintiff Operating Engineers-Employers Welfare, Pension, and Training Trust
23
     Funds allege:
24

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     COMPLAINT TO COLLECT TRUST FUNDS AND UNION DUES                                    Reid, McCarthy, Ballew & Leahy, L.L.R
     Page 1 of 6                                                                                         ATTORNEYS AT LAW
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 3               They are unincorporated associations operating as Trust Funds pursuant to

 4
     Section 302 of the Labor Management Relations Act of 1947, as amended, under the
 5
     respective names of Locals 302 and 612 of the International Union of Operating
 6
     Engineers-Construction Industry Health & Security Fund, Locals 302 and 612 of the
 7
     International Union of Operating Engineers-Employers Construction Industry
 8

 9   Retirement Fund, and Western Washington Operating Engineers-Employers Training

10   Fund, to provide medical, retirement, and training benefits to eligible participants.

11
     Plaintiffs' offices are located En King County, Washington.
12
                                                                                  II.
13
                 The Court has jurisdiction over the subject matter of this action under Section
14
     502 (e)(1) and (f) of the Employee Retirement Income Security Act of 1974
15

     ("ERISA"), 29 U.S.C. §1132 (e)(1) and (f) and under Section 301 (a) of the Taft-
16


17   Hartley Act, 29 U.S.C. §185 (a).

18                                                                                III.

19
                 Venue is proper in this district under Section 502 (e)(2) of ERISA, 29 U.S.C.
20
     §1132 (e)(2), because Plaintiff Trusts are administered in this district.
21
                                                                                  IV.
22
                  Defendant Is a Washington limited liability company.
23

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     COMPLAINT TO COLLECT TRUST FUNDS AND UNION DUES                                     Reid, McCarthy, Ballew & Leahy, L.L.P.
     Page 2 of 6                                                                                         ATTORNEYS AT LAW
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                                                                               V.
 1

 2               Defendant is bound to a collective bargaining agreement with Local 302 of the

 3   International Union of Operating Engineers (hereinafter "Local"), under which

 4
     Defendant is required to promptly and fully report for and pay monthly contributions to
 5
     the Plaintiff Trusts at varying, specified rates for each hour of compensation
 6
     Defendant pays to its employees who are members of the bargaining unit
 7
     represented by the Local (such bargaining unit members are any of Defendant's part
 8

 9   time or full time employees who perform any work task covered by the Defendant's

10   labor contract with the Local, whether or not those employees actually join the Local).

11
                                                                               VI.

12
                 Defendant accepted Plaintiffs' respective Agreements and Declarations of
13
     Trust and thereby agreed to pay to each of Plaintiff Trusts liquidated damages equal
14
     to twelve percent (12%) of all delinquent and delinquently paid contributions, or
15

     $25.00 per month, whichever sums are greater, and twelve percent (12%) annual
16


17   interest accruing upon each monthly contribution delinquency from the first day

18   thereof until fully paid, as well as all attorneys fees and costs, including audit

19
     expenses if applicable, which Plaintiffs incur in collection of Defendant's unpaid
20
     obligations.
21
                                                                               VII.
22
                 Since the 1 day of June 2018, Defendant failed to promptly report for and/or
23

     pay to Plaintiff Trusts all amounts due them, as hereinabove set forth, for work
24

25   performed by Defendant's employees, and only Defendant's records contain the

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     COMPLAINT TO COLLECT TRUST FUNDS AND UNION DUES                                  Reid, McCarthy, Ballew & Leahy, L.L.R
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                                                                                           TELEPHONE: (206) 285.0464 • FAX: (206)285-8925
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     detailed information necessary to an exact determination of the extent of Defendant's
 1

 2   unpaid obligations.

 3
                                                                             COUNT TWO
 4
                 Plaintiff, Local 302 of the International Union of Operating Engineers
 5


 6   (hereinafter "Local"), alleges:

 7                                                                               I.


 8               It is a labor organization with its principal offices in King County and brings this
 9
     action pursuant to Section 301 of the Labor Management Relations Act of 1947, as
10
     amended.
11


12                                                                               II.

13
                 Defendant is a Washington limited liability company.
14
                                                                                 Hi.
15
                 Defendant entered into an agreement with the Local, whereunder Defendant
16

     agreed to deduct from the periodic paychecks of its employees who are represented
17

18
     by the Local, specified amounts for each hour of compensation Defendant pays to

19   those employees and to remit the total thus deducted each month to the Plaintiff

20   Local no later than the fifteenth (15th) of the month immediately following the month
21
     in which such deductions were made.
22

23

24

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     COMPLAINT TO COLLECT TRUST FUNDS AND UNION DUES                                     Reid, McCarthy, Ballew & Leahy, L.L.P.
     Page 4 of 6                                                                                         ATTORNEYS AT LAW
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                                                                                 IV.
 1

 z               Since the 1 day of June 2018, Defendant failed to promptly report for and/or

 3   pay to the Local the total sum deducted from the periodic paychecks of Defendant's

 4
     employees who are represented by the Local.
 5
                 WHEREFORE. Plaintiffs pray the Court as follows:
 6
     1. That the Defendant be compelled to render a monthly accounting to the
 7
                 Plaintiffs' attorneys and set forth in it the names and respective social security
 8

 9
                 numbers of each of the Defendant's employees who are members of the

10               bargaining unit represented by the Local, together with the total monthly hours

li               for which the Defendant compensated each of them, for the employment
12
                 period commencing June 2018 to the date of service of this Complaint to
13
                 Collect Trust Funds and Union Dues, and for whatever amounts may
14
                 thereafter accrue.
15

     2. That plaintiff Trust Funds be granted judgment against Defendant under
16

17               COUNT ONE for:

18                            a. Ail delinquent contributions due;

19
                              b. All liquidated damages and pre-judgment interest due;
20
                              c. All attorneys fees and costs incurred by Plaintiffs in connection
21
                                          with Defendant's unpaid obligations; and
22
                              d. Such other and further relief as the court may deem just and
23

                                          equitable.
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     COMPLAINT TO COLLECT TRUST FUNDS AND UNION DUES                                   Reid, McCarthy, Ballew & Leahy, L,L,P.
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     3. That Plaintiff Local be granted judgment against Defendant under COUNT

                 TWO for:

                              a. All amounts owing to it by the Defendant; and

                              b. Such other and further relief as the court may deem just and
                                    equitable.




                 DATED this ^t/_ day of August, 2018.



 9                                                                              REID. MCCARTHY, BALLEW & LEAHY,
                                                                                LLP.
10

II


12
                                                                                Russell J. Reid,/W§^#2560
13                                                                              Attorney for Plain^ff
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     COMPLAINT TO COLLECT TRUST FUNDS AND UNION DUES                                            Reid, McCarthy, Ballew & Leahy, L.L.P.
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